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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
_____________________________________
JOHN CICARELLI,                        )  CIVIL ACTION NO.
      Plaintiff                        )  3:11-CV-1187 (JBA)
                                       )
v.                                     )
                                       )
COMMERCIAL RECOVERY SYSTEMS, INC., )
and CITIFINANCIAL AUTO, LTD.,          )
      Defendant                        )  OCTOBER 20, 2011
_____________________________________)

                                 NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. Rule Rule 41(a)(1)(A)(i), the plaintiff, John Cicarelli,

through his attorney, hereby gives notice that the claims of the above-entitled action

shall be dismissed with prejudice, and without costs or attorney’s fees.

                                           Plaintiff, John Cicarelli

                                           By/s/Daniel S. Blinn
                                           Daniel S. Blinn (ct02188)
                                           Consumer Law Group, LLC
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                                           Rocky Hill, CT 06067
                                           (860) 571-0408
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                                     CERTIFICATION

        I hereby certify that on this 20th day of October, 2011, a copy of foregoing
Notice of Dismissal with Prejudice was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                             /s/Daniel S. Blinn
                                             Daniel S. Blinn
